                                       Case 3:17-cv-07095-RS Document 1-1 Filed 12/13/17 Page 1 of 1
                                                                                 CIVIL COVER SHEET
JS-CAND 44 (Rev. 06/17)

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
  BRUCE MACDONALD, Individually and on Behalf of All Others Similarly
  Situated                                                                                                  DYNAMIC LEDGER SOLUTIONS, INC., a Delaware corporation, et al.
   (b) County of Residence of First Listed Plaintiff              San Diego                                    County of Residence of First Listed Defendant             Santa Clara
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
 Reed R. Kathrein (State Bar No. 139304)
 HAGENS BERMAN SOBOL SHAPIRO LLP, 715 Hearst Avenue, Suite 202,
 Berkeley, CA 94710; Tel: 510-725-3000 / Fax: 510-725-3001

II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                          PTF       DEF                                      PTF         DEF
      1    U.S. Government Plaintiff        3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4         4
                                                 (U.S. Government Not a Party)
                                                                                                                                                            of Business In This State
                                                                                                     Citizen of Another State                2        2     Incorporated and Principal Place     5          5
      2    U.S. Government Defendant        4     Diversity                                                                                                 of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a                 3        3     Foreign Nation                       6          6
                                                                                                     Foreign Country

IV.          NATURE OF SUIT                 (Place an “X” in One Box Only)
          CONTRACT                                                    TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                   625 Drug Related Seizure of         422 Appeal 28 USC § 158             375 False Claims Act
   120 Marine                                                                                                      Property 21 USC § 881           423 Withdrawal 28 USC               376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                       690 Other                               § 157                              § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                              LABOR                       PROPERTY RIGHTS                   400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                             Pharmaceutical Personal                                                                                 410 Antitrust
                                       330 Federal Employers’                                                  710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                                430 Banks and Banking
                                           Liability                                                           720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                                450 Commerce
                                       340 Marine                                                                  Relations                       835 PatentAbbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                            740 Railway Labor Act                   Drug Application                460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                           470 Racketeer Influenced &
                                       350 Motor Vehicle                                                       751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                                Corrupt Organizations
                                       355 Motor Vehicle Product                                                   Leave Act
       Veterans)                                                           371 Truth in Lending                                                      SOCIAL SECURITY                   480 Consumer Credit
                                           Liability                                                           790 Other Labor Litigation
   153 Recovery of                                                         380 Other Personal Property                                             861 HIA (1395ff)
                                       360 Other Personal Injury                                               791 Employee Retirement                                                 490 Cable/Sat TV
       Overpayment                                                             Damage                              Income Security Act             862 Black Lung (923)                850 Securities/Commodities/
    of Veteran’s Benefits              362 Personal Injury -Medical
                                           Malpractice                     385 Property Damage Product                                             863 DIWC/DIWW (405(g))                 Exchange
   160 Stockholders’ Suits                                                     Liability                             IMMIGRATION
                                                                                                                                                   864 SSID Title XVI                  890 Other Statutory Actions
   190 Other Contract                                                                                          462 Naturalization
                                             CIVIL RIGHTS                     PRISONER PETITIONS                                                   865 RSI (405(g))                    891 Agricultural Acts
   195 Contract Product Liability                                                                                  Application
                                       440 Other Civil Rights                 HABEAS CORPUS                                                         FEDERAL TAX SUITS                  893 Environmental Matters
   196 Franchise                                                                                               465 Other Immigration
                                       441 Voting                          463 Alien Detainee                      Actions                                                             895 Freedom of Information
                                                                                                                                                   870 Taxes (U.S. Plaintiff or
          REAL PROPERTY                442 Employment                                                                                                  Defendant)
                                                                                                                                                                                          Act
                                                                           510 Motions to Vacate
   210 Land Condemnation               443 Housing/                            Sentence                                                                                                896 Arbitration
                                                                                                                                                   871 IRS–Third Party 26 USC
   220 Foreclosure                         Accommodations                  530 General                                                                 § 7609                          899 Administrative Procedure
                                       445 Amer. w/Disabilities–                                                                                                                          Act/Review or Appeal of
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                                                     Agency Decision
   240 Torts to Land                                                                OTHER                                                                                              950 Constitutionality of State
   245 Tort Product Liability          446 Amer. w/Disabilities–Other
                                                                           540 Mandamus & Other                                                                                           Statutes
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights
                                                                           555 Prison Condition
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from               3     Remanded from            4   Reinstated or           5 Transferred from              6   Multidistrict           8 Multidistrict
          Proceeding                   State Court                      Appellate Court              Reopened                  Another District (specify)        Litigation–Transfer       Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 U.S. Code 1332(d)(2)
             ACTION
                                Brief description of cause:
                                 Violation of California’s Corporate Securities Law of 1968 and California’s Unfair Competition Law
VII.         REQUESTED IN               ✔   CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                       CHECK YES only if demanded in complaint:
             COMPLAINT:                     UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                    JUDGE                                                       DOCKET NUMBER 3:17-cv-06779-RS; 3:17-cv-06850-RS; and 3:17-cv-06829-RS
      IF ANY (See instructions):                                      Hon. Richard Seeborg

IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                           SAN JOSE                        EUREKA-MCKINLEYVILLE


DATE 12/13/2017                                           SIGNATURE OF ATTORNEY OF RECORD                                                 /s/ Reed R. Kathrein
